Case 3:08-cr-30071-DRH-PMF      Document 80      Filed 06/05/09   Page 1 of 2   Page ID
                                      #316



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JULIE K. GREER,

 Defendant.                                                 No. 08-30071-DRH

                                       ORDER

 HERNDON, Chief Judge:

              Before the Court is a Joint Motion to Continue Sentencing and for

 Extension of Time to File Objections (Doc. 79) filed by Defendant Greer. The

 motion is jointly filed with the United States of America. Defendant Greer requests

 that the sentencing hearing currently scheduled for June 26, 2009, be continued for

 sixty (60) days so that the Government may have the opportunity to conclude its

 investigation and advise the Court of Defendant’s cooperation and substantial

 assistance. Based on the reasons in the motion, the Court GRANTS Defendant’s

 joint motion to continue sentencing and CONTINUES            the sentencing hearing

 scheduled for June 26, 2009 until August 21, 2009 at 1:30 p.m.

              Additionally, Defendant and the Government jointly request an

 extension of time to file objections to the Presentence Report. Defendant argues that

 her counsel needs additional time to file objections because she is currently involved

 in two other criminal cases which require her attention. Therefore, the Court

 GRANTS Defendant’s motion for extension of time to file objections (Doc. 79). The
Case 3:08-cr-30071-DRH-PMF      Document 80      Filed 06/05/09   Page 2 of 2   Page ID
                                      #317



 parties will have up to and including June 26, 2009 in which to file objections to the

 Presentence Report.

              IT IS SO ORDERED.

              Signed this 5th day of June, 2009.



                                               /s/     DavidRHer|do|
                                               Chief Judge
                                               United States District Court




                                      Page 2 of 2
